               Case 2:12-cv-01641-KDE-SS Document 85-7 Filed 05/06/13 Page 1 of 9

                      Mitchell Center Platform Layout / End Stage
                                  July 5-8 - 13-15 ,20L2



                                          Platform
                                          24'x36'



                                    Platform viewed from above




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Rope Barrier                                                                            Wf:    3




                                         Platform Front View




                                                               safety Rail

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                                                                                    Areas to Accommodate
                                         Platform Side View                         Changes During Drama
Case 2:12-cv-01641-KDE-SS Document 85-7 Filed 05/06/13 Page 2 of 9

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